                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )
                                                )        Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                              )
                                                )        Dated: September 15, 2022
         Defendant.                             )
                                                )

                               AMENDED SCHEDULING ORDER
        The Court, with the assistance of the parties, MODIFIES the Scheduling Order, dated
August 15, 2022, as follows:


      Consolidated response to defendant’s motion
      to dismiss; defendant’s motion for a bill of
      particulars; and defendant’s motion to
      disqualify counsel.                                      March 11, 2022

      Consolidated reply in support of defendant’s
      motion to dismiss; defendant’s motion for a
      bill of particulars; and defendant’s motion to
      disqualify counsel.                                      March 25, 2022

      Hearing on pre-trial motions and first pre-trial
      status conference.                                       April 14, 2022, at 2 p.m., in
                                                               Courtroom 1A of the Edward A.
                                                               Garmatz Building, 101 West
                                                               Lombard Street, Baltimore,
                                                               Maryland 21201.

      Defendant’s response to Government’s motion
      for an order pursuant to Local Rules 204 and
      603.                                                     September 29, 2022

      Government’s reply in support of its motion.             October 4, 2022

      Defendant’s supplemental disclosures for
      Jerome Schmitt and Eric Forster.                         October 7, 2022

      Government’s expert disclosures.                         December 1, 2022
Motion(s) to exclude, any motion(s) in limine;
revised proposed voir dire; revised proposed
jury instructions; and a proposed jury
verdict form. In preparing proposed voir dire,
proposed jury instructions, and a proposed
jury verdict form, counsel shall meet and
confer and, to the fullest extent possible,
make a joint submission. Counsel shall
identify any matters of disagreement through
supplemental filings.                                    January 9, 2023

Response(s) to motion(s) in limine and any
motion(s) to exclude.                                    January 23, 2023

Replies in support of motion(s) in limine and
any motion(s) to exclude.                                February 6, 2023

Pre-trial status conference and hearing on
motion(s) in limine, to exclude, and to                  March 7, 2023, in Courtroom 1A of
supplement.                                              the Edward A. Garmatz Building,
                                                         101 West Lombard Street,
                                                         Baltimore, Maryland 21201.

Final pre-trial status conference and hearing on
any remaining pre-trial motion(s).                       March 22, 2023, in Courtroom 1A
                                                         of the Edward A. Garmatz
                                                         Building, 101 West Lombard Street,
                                                         Baltimore, Maryland 21201.

Jury selection.                                          March 23, 2023, in Courtroom 1A
                                                         of the Edward A. Garmatz
                                                         Building, 101 West Lombard Street,
                                                         Baltimore, Maryland 21201.

Jury trial.                                              March 27, 2023, in Courtroom 1A
                                                         of the Edward A. Garmatz
                                                         Building, 101 West Lombard Street,
                                                         Baltimore, Maryland 21201.

   IT IS SO ORDERED.


                                              s/ Lydia Kay Griggsby
                                              LYDIA KAY GRIGGSBY
                                              United States District Judge



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